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                                 BEFORE THE UNITED STATES
                        JUDICIAL PANEL ON MULTIDISTRICT LITIGATION


       IN RE: ROUNDUP PRODUCTS                                              MDL No. 2741
       LIABILITY LITIGATION



           MONSANTO COMPANY’S NOTICE OF POTENTIAL TAG-ALONG ACTIONS

                                        SCHEDULE OF ACTIONS


            Plaintiff              Defendant          District        Civil Action No.        Judge
1.   Estate of Joseph           Monsanto Co.   Southern District of   3:21-cv-00288-     District Judge
     Wallace, by and            and Does 1     California (San        AJB-KSC            Anthony J.
     through its personal       through 100,   Diego)                                    Battaglia
     representative Elizabeth   inclusive
     Wallace, and Elizabeth
     Wallace, surviving
     spouse of Joseph
     Wallace
2.   Owen A. Mattingly          Monsanto Co.   Western District of    3:21-cv-00121-     District Judge
                                               Kentucky               RGJ                Rebecca Grady
                                               (Louisville)                              Jennings
3.   Patrick Crabtree           Monsanto Co.   Northern District of   4:20-cv-01192-     District Judge
                                               Texas (Fort Worth)     O                  Reed C.
                                                                                         O’Connor
4.   Spencer L. Prince and      Monsanto Co.   District of Utah       1:20-cv-00134-     Senior District
     Tamara Prince                             (Northern)             TC                 Judge Tena
                                                                                         Campbell




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